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                     RECOMMENDATION TERMINATING
              SUPERVISED RELEASE PRIOR TO EXPIRATION DATE


                         UNITED STATES DISTRICT COURT
                                   FOR THE
                        EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA                 )
                                         )
                           vs.           )       Docket Number: 2:00CR00444-04
                                         )
Michael William GARCIA                   )
                                         )


LEGAL HISTORY:

On February 14, 2002, the above-named was sentenced to 60 months custody in the
Bureau of Prisons to be followed by a term of Supervised Release for a period of 48
months, which commenced on February 4, 2005. Special conditions included: Warrantless
search and seizure; Drug/alcohol treatment, testing, and co-payment; Mental health
treatment; Drug offender registration; and Non-association with gang members.


SUMMARY OF COMPLIANCE:

Mr. Garcia has complied with all conditions and special conditions of Supervised Release,
and has not been involved in any further criminal activities. It is the opinion of the
probation officer that Mr. Garcia has derived maximum benefit from supervision and is not
in need of continued supervision.




                                                                                     Rev. 04/2007
                                             1          EARLY TERMINATION ~ RECOMMENDATION.MRG
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RE:      Michael William GARCIA
         Docket Number: 2:00CR00444-04
         RECOMMENDATION TERMINATING
         SUPERVISED RELEASE PRIOR TO EXPIRATION DATE




RECOMMENDATION:

It is, therefore, respectfully recommended that Supervised Release in this case be
terminated early.

                                       Respectfully submitted,


                                     /s/ Richard W. Elkins
                                    RICHARD W. ELKINS
                            Senior United States Probation Officer

Dated:           February 28, 2008
                 Elk Grove, California
                 RWE/cj



REVIEWED BY:               /s/ Deborah A. Spencer
                         DEBORAH A. SPENCER
                         Supervising United States Probation Officer



cc:      AUSA - Richard J. Bender (Pursuant to Rule 32, notice of proposed relief to the supervisee is
         being provided. If no objection is received from you within 14 days, the probation officer's
         Recom m endation and Prob35-Order Term inating Supervised Release Prior to Expiration Date, will
         be subm itted to the Court for approval.)




                                                                                               Rev. 04/2007
                                                    2             EARLY TERMINATION ~ RECOMMENDATION.MRG
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P R O B 35           ORDER TERMINATING SUPERVISED RELEASE
                           PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA                         )
                                                 )
                            vs.                  )     Docket Number: 2:00CR00444-04
                                                 )
Michael William GARCIA                           )
                                                 )


On February 4, 2005, the above-named was placed on Supervised Release for a period of
48 months. He has complied with the rules and regulations of supervision. It is accordingly
recommended that he be discharged from supervision.

                                   Respectfully submitted,


                                  /s/ Richard W. Elkins
                                  RICHARD W. ELKINS
                          Senior United States Probation Officer



Dated:         February 28, 2008
               Elk Grove, California
               RWE/cj



REVIEWED BY:          /s/ Deborah A. Spencer
                     DEBORAH A. SPENCER
                     Supervising United States Probation Officer




                                                                                                        R ev. 05/2006
                                             3               E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
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RE:   Michael William GARCIA
      Docket Number: 2:00CR00444-04
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE




                                  ORDER OF COURT

It is ordered that the supervised releasee be discharged from Supervised Release, and that
the proceedings in the case be terminated.

   03/25/2008                                   /s/ D. Lowell Jensen
Date                                            United States District Judge


RWE/cj

Attachment:   Recommendation

cc:   United States Attorney's Office




                                                                                                       R ev. 05/2006
                                            4               E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
